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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-02915-GPG-TPO

UNITED STATES OF AMERICA,

       Plaintiff,

and

FRANCESCA CHEROUTES,

       Intervening Plaintiff,

v.

ROCKET MORTGAGE, LLC;
SOLIDIFI U.S. INC.;
MAKSYM MYKHAILYNA; and
MAVERICK APPRAISAL GROUP INC.,

       Defendants.

                                INTERVENOR’S COMPLAINT

       Francesca Cheroutes, as Intervening Plaintiff, by and through her counsel, Mari Newman,

Andy McNulty, and Madeline Leibin of NEWMAN | MCNULTY, LLC, states as follows for her

Intervenor’s Complaint: 1

                                       INTRODUCTION

       1.      Ms. Cheroutes is a Black woman who wants and deserves to enjoy the American

dream of home ownership and all of its rewards, free from discrimination. In 2021, Ms.

Cheroutes sought to refinance her home in order to capitalize on remarkably low interest rates




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  The United States details the race discrimination and retaliation to which Ms. Cheroutes was
subjected in its Complaint, [ECF #1], the entirety of which Intervening Plaintiff incorporates by
reference.


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and the rising value of her property, located in the heart of an excellent, established central

Denver neighborhood. But instead of providing Ms. Cheroutes the same opportunity to contract

as White property owners, Defendants, Rocket Mortgage, LLC (“Rocket”), Solidifi U.S. Inc.

(Solidifi”), Maksym Mykhailyna (“Mykhailyna”), and Maverick Appraisal Group Inc.

(“Maverick”) discriminated against Ms. Cheroutes in the appraisal of her property by

significantly undervaluing her home, simply because she is Black. When Ms. Cheroutes

expressed her opposition to the discriminatory appraisal, Defendant Rocket denied her right to a

engage in a real estate transaction free from discrimination, and retaliated against her by

cancelling her refinance application.

       2.      Ms. Cheroutes files this Intervenor’s Complaint to vindicate her rights; secure a

remedy for the significant financial losses and emotional distress inflicted upon her by

Defendants; punish Defendants for their illegal conduct; and send a message to deter others from

this sort of discriminatory and retaliatory conduct.

                                 JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action pursuant to 42 U.S.C. §§ 1331,

1343(a), 1345, 3612(o), 3613, and 1981. Jurisdiction for an award of attorneys fees exists

pursuant to 42 U.S.C. §§ 3612(p) and 1988.

       4.      Intervening Plaintiff satisfies the standard for intervention under Federal Rule of

Civil Procedure 24.

       5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), because a substantial part of

the events or omissions giving rise to these claims occurred in the District of Colorado.




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                               PARTIES AND SUBJECT PROPERTY

        6.         The United States detailed the Parties and Subject Property at issue in this case in

its Complaint, the entirety of which is incorporated herein by reference. [ECF #1].

        7.         Intervening Plaintiff Francesca Cheroutes is a citizen of the United States of

America and a resident of, and domiciled in, the State of Colorado. She is the owner of the

Subject Property and resides in one of the two units of the Subject Property. She is an

“[a]ggrieved person” within the meaning of the Fair Housing Act, 42 U.S.C. § 3602(i), and a

person subject to the legal protections of 42 U.S.C. §§ 1981.

         ALLEGATIONS REGARDING DEFENDANTS’ DISCRIMINATION AND
                  RETALIATION AGAINST MS. CHEROUTES

        8.         The United States detailed the allegations regarding Defendants’ discrimination

and retaliation against Ms. Cheroutes in its Complaint, which is incorporated herein by reference

in its entirety.

        9.         Defendants Mykhailyna and Maverick contract with Solidifi to perform

appraisals. Defendants Mykhailyna and Maverick are contractually and legally required to

submit accurate information in their appraisals and to comply with appraisal standards set by

Solidifi and Rocket. Defendant Rocket is a third-party beneficiary with the authority to enforce

the terms of that contract directly with Defendant Mykhailyna and Maverick.

        10.        Each Defendant had, and breached, his/its independent duty to act in accordance

with federal law prohibiting discrimination in a real estate transaction, discrimination in the

making and enforcement of contracts, and retaliation for a person’s good faith objection to

discrimination.

        11.        Each Defendant intentionally discriminated against Ms. Cheroutes in a real estate

transaction and in the making and enforcing of contracts by discriminatorily undervaluing Ms.



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Cheroutes’ property, generating and offering her less favorable loan estimate terms, and

cancelling her loan application, because she is Black.

        12.     In addition, Defendant Rocket intentionally and retaliatorily generated and offered

Ms. Cheroutes less favorable loan estimate terms and cancelled her loan application because she

spoke out about her concerns that Defendants Mykhailyna, Maverick, and Solidifi had

undervalued her home because she is Black.

        13.     By intentionally discriminatorily undervaluing her home, generating and offering

a loan estimate with less favorable terms, and cancelling her loan application, Defendants

intentionally disallowed Ms. Cheroutes the same opportunity as is enjoyed by white citizens

to make and enforce contracts.

        14.     Defendant Mykhailyna, independently and as an agent for Defendant Maverick

Appraisal Group, Inc., Solidifi U.S. Inc, and Rocket Mortgage, LLC, intentionally issued an

artificially low appraisal of Ms. Cheroutes’ property because she is Black. That discriminatory

appraisal included material misstatements, errors and omissions regarding Ms. Cheroutes’

property and relied on so-called “comparable” properties in less valuable neighborhoods and

school districts.

        15.     Ms. Cheroutes directly contacted Rocket and reported the discriminatory appraisal

of her property, putting Defendant Rocket on notice of her good faith belief that she had been

subjected to race discrimination in the valuation of her property in violation of her rights to

engage in a real estate transaction and to contract free from discrimination.

        16.     Defendant Rocket is and was aware that federal law, including but not limited to

law regarding appraisal independence, does not prohibit requests for confirmation and/or




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corrections to an appraisal, the use of a second appraisal, and/or the reliance on additional

comparable properties.

       17.     Defendant Rocket is and was aware of its legal obligation not to rely upon a

discriminatory appraisal, or to retaliate against a person for expressing a good faith belief that

they had received a discriminatory appraisal.

       18.     Even after it was specifically made aware that Defendants Mykhailyna, Maverick,

and Solidifi had engaged in discrimination by undervaluing Ms. Cheroutes’ property because she

is Black, Defendant Rocket refused to confirm and/or correct the appraisal, use a second

appraisal, and/or rely on additional comparable properties, or otherwise utilize a non-

discriminatory appraisal to process Ms. Cheroutes’ loan.

       19.     Instead, in response to Ms. Cheroutes’ good faith report of discrimination,

Defendant Rocket intentionally retaliated against Ms. Cheroutes for her protected opposition to

discrimination in a real estate related transaction and in her right to contract in the same manner

as white persons by cancelling her loan application.

  ALLEGATIONS REGARDING THE PARTICULAR INJURIES SUFFERED BY MS.
     CHEROUTES AND THE NEED FOR PUNITIVE/EXEMPLARY DAMAGES

       20.     In addition to the financial and emotional harm Ms. Cheroutes suffered from

Defendants’ discrimination and retaliation as detailed in the United States’ Complaint,

Intervening Plaintiff adds the following facts regarding her severe emotional distress:

       21.      Defendants subjected Ms. Cheroutes to deep humiliation and emotional distress

when two White men came onto her property, unannounced, assumed her White tenants were the

homeowners, treated her with palpable disdain, and utterly dismissed her statements regarding

the improvements that she had made to increase the value of her home. All this occurred in front

of Ms. Cheroutes’ daughter, and while her son was in the process of buying a home. Ms.



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Cheroutes continues to fear not only that she will continue to be subjected to the same racist

discrimination, but also for the racist discrimination her loved ones may face in their efforts to

secure shelter.

       22.        Ms. Cheroutes’ emotional distress did not end after Defendant Mykhailyna and

his colleague left her home, nor after she received the discriminatorily low valuation. Defendant

Rocket continued to inflict emotional distress on Ms. Cheroutes, retaliating against her by

generating and offering her less favorable loan estimate terms and cancelling her loan application

because she reported discrimination by Defendants Mykhialyna, Maverick, and Solidifi.

       23.        Defendant Rocket’s agents knew Ms. Cheroutes was reporting discrimination and

disallowance of her rights to make and/or enforce contracts and to engage in a real estate

transaction because she is Black.

       24.        Defendant Rocket had the authority and/or obligation to confirm and/or correct

the appraisal, use a second appraisal, and/or rely on additional comparable properties in order to

rely on a non-discriminatory appraisal, but refused to do so. Indeed, Rocket was legally required

to utilize a non-discriminatory appraisal, but refused to do so.

       25.        Defendant Rocket did not offer Ms. Cheroutes any consolation or solution.

Defendant did not confirm and/or correct the appraisal, use a second appraisal, and/or rely on

additional comparable properties. Its only response was to task Ms. Cheroutes with an

appraiser’s work by providing her own sales comps for the appraisal, with those suggested sales

comps to be evaluated by Defendant Mykhailyna, the person who discriminatorily dismissed her,

treated her with palpable disdain, and undervalued her home in the first instance. Defendant

Rocket’s numerous dismissals and gaslighting directive to revictimize herself caused additional

and significant emotional distress.




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         26.    Defendants’ discriminatory and retaliatory conduct has caused Ms. Cheroutes to

experience severe and persistent emotional distress, including but not limited to deep sadness,

anger, outrage, discomfort, fear, anxiety, humiliation, embarrassment, a sense of powerlessness,

loss of sense of security, loss of dignity, a feeling of inferiority, loss of sleep, and loss of self-

worth.

         27.    Unfortunately, Defendants’ treatment of Ms. Cheroutes is not an isolated incident,

but, rather, part of a widespread pattern of racial bias in home appraisals. The scourge of racism

in appraisals is well documented in both Colorado, and across the country. See, e.g., Troy

McMullen, For Black Homeowners, A Common Conundrum With Appraisals, WASH. POST

(January 20, 2021 8:00 AM ET), https://www.washingtonpost.com/realestate/for-black-

homeowners-a-common-conundrum-with-appraisals/2021/01/20/80fbfb50-543c-11eb-a817-

e5e7f8a406d6_story.html (detailing data and examples, including discriminatory appraisal of a

home belonging to a mixed-race couple in a Denver neighborhood near that of Ms. Cheroutes, in

which the appraiser likewise overlooked nearby comparable properties in “white” areas and

instead relied on lower-valued properties in “Black” areas); Debra Kamin, Widespread Racial

Bias Found in Home Appraisals (November 2, 2022),

https://www.nytimes.com/2022/11/02/realestate/racial-bias-home-appraisals.html (reporting

persistent practice that gives higher values to homes when the occupants are white, and devalues

them when the owners are people of color; Debra Kamin, Black Homeowners Face

Discrimination in Appraisals (Published Aug. 25, 2020, Updated Jan. 26, 2023),

https://www.nytimes.com/2020/08/25/realestate/blacks-minorities-appraisals-discrimination.html

(“Even in mixed-race and predominantly white neighborhoods, Black homeowners say, their

homes are consistently appraised for less than those of their neighbors, stymying their path




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toward building equity and further perpetuating income equality in the United States.”); Debra

Kamin, Justice Dept. Sues Rocket Mortgage for Appraisal Discrimination (Nov. 1, 2024),

https://www.nytimes.com/2024/11/01/realestate/home-appraisal-discrimination-rocket-

mortgage.html.

       28.     National Public Radio describes “years of homeowner horror stories and a

growing body of research has cast a harsh light on how frequently racial bias can skew home

appraisals,” including the story of a Black homeowner who, like Ms. Cheroutes, received a

stunningly low appraisal, but then received an appraisal about one-third higher when a white

family posed as the homeowners. Jennifer Ludden, Racial bias often creeps into home

appraisals, NPR (March 13, 2023 5:01 AM ET),

https://www.npr.org/2023/03/13/1161713496/home-appraisals-racial-bias-black-latino-

homeowners-lawsuit; see also Brakeyshia Samms, Racial Discrimination in Home Appraisals Is

a Problem That’s Now Getting Federal Attention, INSTIT. ON TAX’N AND ECON. POL’Y,

https://itep.org/racial-discrimination-in-home-appraisals-is-a-problem-thats-now-getting-

federal-attention/ (“Throughout the pandemic home values have skyrocketed, but Black

homeowners are less likely to benefit from this trend and in some cases have seen their home

values stagnate relative to the broader real estate market. The reasons for this are multifaceted,

but racial bias in home appraisals is a key contributor.”).

       29.     An award of punitive, or “exemplary” damages is necessary to both punish the

Defendants in this case, and to serve as an example to others in the appraisal, management,

refinancing, and real estate industries, in order to deter them from similar illegal conduct. An

award of exemplary damages could help to arrest the pattern of racial bias in home appraisals.




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                                      CAUSE OF ACTION

                                FIRST CLAIM FOR RELIEF
                               Violations of the Fair Housing Act
                                    42 U.S.C. §§ 3601–3619

         30.    The United States pled violations of the Fair Housing Act. [ECF #1]. Intervening

Plaintiff incorporates the entirety of that pleading by reference.

         31.   In addition, Intervening Plaintiff re-alleges and incorporates by reference the

allegations in this Proposed Intervening Complaint, as if fully set forth herein.

         32.   Ms. Cheroutes is a Black woman within the jurisdiction of the United States,

subject to the legal protections of 42 U.S.C. §§ 3605 and 3617.

         33.   Ms. Cheroutes sought to exercise and/or enjoy rights guaranteed to her by the Fair

Housing Act. Specifically, she sought to refinance her real property, a home located at 749-751

Ash Street, Denver Colorado, by having her home appraised, a refinanced mortgage loan

estimated, and, ultimately, a refinanced mortgage loan extended.

         34.   Those opportunities remained available for similarly situated white homeowners.

         35.   Intentional discrimination and/or discrimination motivated Defendants’

undervaluation of Ms. Cheroutes’ home, generation and offer of a loan estimate with less

favorable terms, and/or cancellation of her loan application.

         36.   These acts constituted coercion, intimidation, threat to, or interference on account

of Ms. Cheroutes having sought to exercise and /or enjoy her rights as guaranteed to her by the

Fair Housing Act.

         37.   Defendant Rocket retaliated against Ms. Cheroutes because she spoke out about

Defendants Mykhailyna’s, Maverick’s, and Solidifi’s undervaluation of her home because she is

Black.




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        38.     Each Defendant’s conduct was intentional, malicious, and in reckless disregard of

Ms. Cheroutes’ federally protected rights.

        39.     Defendants’ conduct caused Ms. Cheroutes to suffer financial loss.

        40.     Defendants’ conduct caused Ms. Cheroutes to suffer severe and persistent

emotional distress, including but not limited to deep sadness, anger, outrage, discomfort, fear,

anxiety, humiliation, embarrassment, a sense of powerlessness, loss of sense of security, loss of

dignity, a feeling of inferiority, loss of sleep, and loss of self-worth.

                                 SECOND CLAIM FOR RELIEF
                                  Discrimination in Contracting
                                        42 U.S.C. § 1981

        41.     The United States detailed the discrimination and retaliation at issue in this case

in its Complaint. [ECF #1]. Intervening Plaintiff incorporates the entirety of that pleading by

reference.

        42.     In addition, Intervening Plaintiff re-alleges and incorporates by reference the

allegations in this Proposed Intervening Complaint, as if fully set forth herein.

        43.     Ms. Cheroutes is a Black woman within the jurisdiction of the United States,

subject to the legal protections of 42 U.S.C. § 1981.

        44.     Ms. Cheroutes applied and was qualified to make and/or enforce contracts

regarding her real property, a home located at 749-751 Ash Street, Denver Colorado.

        45.     Ms. Cheroutes sought to make and/or enforce contracts regarding her real

property, a home located at 749-751 Ash Street, Denver Colorado, including but not limited to

contracts for an appraisal of her property, an estimate of a refinanced mortgage loan, and,

ultimately, a refinanced mortgage loan.




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        46.     Non-discriminatory appraisals of property, estimates of refinanced mortgage

loans, and refinanced mortgage loans are each a part of the benefits, privileges, terms, and

conditions of the contractual relationships between Ms. Cheroutes and Defendants.

        47.     Non-retaliatory appraisals of property, estimates of refinanced mortgage loans,

and refinanced mortgage loans were part of the benefits, privileges, terms, and conditions of the

contractual relationships between Ms. Cheroutes and Defendants.

        48.     By their conduct, Defendants denied Ms. Cheroutes, a Black woman, the same

right to make and enforce contracts and to the full and equal benefit of all laws and proceedings

for the security of persons and property as is enjoyed by white citizens.

        49.     Additionally, Defendant Rocket retaliated against Ms. Cheroutes for her legally

protected objection to discrimination in the appraisal of her home by cancelling her loan

application, thus denying the same legally protected right to contract as enjoyed by white citizens

and citizens who do not engage in legally protected opposition to discrimination.

        50.     Defendants’ conduct was intentional, willful, and taken in reckless disregard of

Ms. Cheroutes’ federally protected rights.

        51.     Defendants’ conduct caused Ms. Cheroutes to suffer financial loss.

        52.     Defendants’ conduct caused Ms. Cheroutes to suffer severe and persistent

emotional distress, including but not limited to deep sadness, anger, outrage, discomfort, fear,

anxiety, humiliation, embarrassment, a sense of powerlessness, loss of sense of security, loss of

dignity, a feeling of inferiority, loss of sleep, and loss of self-worth.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

and against Defendants, and award all relief as allowed by law and equity, including, but not

limited to the following:

       a. All of the relief requested by the United States, ECF #1;

       b. Declaration that all Defendants have violated the provisions of applicable federal law;

       c. Compensatory damages based on Ms. Cheroutes’ significant emotional distress as

           pled in the Intervenor’s Complaint, including, but not limited to those for past and

           future pecuniary and non-pecuniary losses, physical and mental pain, loss of

           enjoyment of life, sadness, anger, outrage, discomfort, fear, anxiety, humiliation,

           embarrassment, a sense of powerlessness, loss of sense of security, loss of dignity, a

           feeling of inferiority, loss of sleep, and loss of self-worth, and other non-pecuniary

           losses;

       d. Punitive damages for all claims as allowed by law in an amount to be determined at

           trial;

       e. Issuance of an Order mandating appropriate equitable relief, including but not limited
          to:

              i. Issuance of a formal written apology from each Defendant to Plaintiff;

             ii. Issuance of a formal commitment to end the pattern of racial bias in home
                 appraisals;

            iii. The imposition of policy changes for each Defendant designed to avoid future
                 similar misconduct; and

            iv. The imposition of mandatory training for each Defendant and each Defendants’
                agents, designed to avoid future similar misconduct;




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      f. Intervening Plaintiff’s Attorney’s fees and costs, including but not limited to those as

          permitted under 42 U.S.C. §§ 3612(p) and 1988;

      g. Pre- and post-judgement interest at the highest lawful rate;

      h. Such further relief as justice requires.

                                       JURY DEMAND

      Intervening Plaintiff hereby demands a trial by jury on all issues so triable.

DATED this 4th day of March, 2025.
                                             NEWMAN | MCNULTY, LLC

                                             s/ Mari Newman
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                                CERTIFICATE OF SERVICE

         I hereby certify that on March 4, 2025, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to counsel for
all parties who have entered their appearances in this matter.


                                              NEWMAN | MCNULTY, LLC

                                              s/ Mari Newman
                                              Mari Newman




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